                          UITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TEESSEE
                               ASHVILLE DIVISIO

RUTH SMITH, Individually and as Widow for           )
the Use and Benefit of Herself and the ext of      )
Kin of Richard Smith, Deceased,                     )
                                                    )
               Plaintiff,                           )       Case o. 3:05-0444
                                                    )
v.                                                  )       Judge Aleta A. Trauger
                                                    )
PFIZER IC., et al,                                 )
                                                    )
               Defendant.                           )

            EXPERT WITESS STATEMET OF PETER D. DOOFRIO, M.D.

       My name is Peter D. Donofrio. I am a neurologist at Vanderbilt here in Nashville. In

this case I was asked to give my expert opinion on the effectiveness and safety of Neurontin for

treating chronic neuropathic pain conditions, the relationship of Mr. Smith’s pain conditions to

his suicide, and whether Neurontin played any role in causing Mr. Smith’s suicide.

       Let me begin by explaining my background and qualifications. I am a medical doctor

and Professor of Neurology at Vanderbilt University School of Medicine. Neurology is the

medical specialty devoted to diagnosing and treating diseases, disorders, and injuries to the

nerves. That includes the central nervous system, the brain and spinal cord, as well as the

peripheral nervous system, the nerves that branch out from the spinal cord throughout the rest of

the body.

       At Vanderbilt University Medical Center, I am Chief of the Neuromuscular Section and

the Director of the electromyography, or “EMG,” Laboratory. EMG is a medical diagnostic

procedure that we use in neurology to examine the nerves, similar to the way that X-rays, CT

scans, and similar techniques are used to examine other parts of the body.




 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 1 of 16 PageID #: 3950
       At Vanderbilt, I spend more than half of my time in patient care, and the remainder on

research, teaching, and committee responsibilities. I evaluate between 40 and 50 patients each

week with neuromuscular disorders, which are problems involving the nerves, muscles, or both.

       Many of my patients have neuropathic pain. “Neuropathic” pain is caused by a variety of

metabolic diseases or injury to the nerves. Common causes of neuropathic pain include diabetes,

alcohol abuse, vitamin deficiencies, trauma to nerves and nerve roots, spine diseases, and spinal

cord injuries. Neuropathic-pain symptoms include the feeling of pins and needles, burning and

shooting pain as well as stabbing or throbbing pain. The goal of treatment is to reduce the

severity of symptoms, improve functionality and ultimately, quality of life.

       I graduated from college at the University of Notre Dame in Notre Dame, Indiana in

1972, and then completed medical school at The Ohio State University School of Medicine in

Columbus, Ohio in 1975. After medical school, I completed a Medicine Residency at Good

Samaritan Hospital in Cincinnati, Ohio and a Neurology Residency and Neuromuscular

Fellowship at the University of Michigan.

       I taught medicine at the University of Michigan for four years, Wake Forest University

for more than 20 years, and have been on the faculty at Vanderbilt since 2006. In all of those

positions, my work has included not only teaching medical students and new doctors in an

academic or classroom setting, but also treating patients with neurological disorders and painful

conditions at each of those universities’ medical centers.

       I am board certified in three medical specialties: Internal Medicine, Neurology, and

Electromyography. I have special interests in the areas of peripheral neuropathy, diabetic

neuropathy, inflammatory neuropathies, all of which cause the “neuropathic” form of pain I




                                     2
 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 2 of 16 PageID #: 3951
mentioned earlier, as well as myasthenia gravis, and amyotrophic lateral sclerosis, also known as

“ALS” or Lou Gehrig’s disease.

        During my career, I have written and published more than 80 peer-reviewed medical

articles, 70 abstracts, and 10 book chapters. I am a member of the Editorial Board of Muscle &

 erve, which is a leading journal in my field, neurology. I have given more than 250 invited

lectures.

        Over the past 22 years, I have been awarded research grants to study painful diabetic

neuropathy, chronic inflammatory neuropathies, amyotrophic lateral sclerosis, and myasthenia

gravis. I have been listed as one of the Best Doctors in America every year since 1994 and am a

member of America’s Top Physicians.

        A copy of my curriculum vitae, or “CV,” that lists more details about my education and

professional background is marked as Ex. 255.

        In order to reach my conclusions in this case, I reviewed medical records of the patient,

as well as medical reports and manuscripts on Neurontin, also known by its generic name,

gabapentin. I also relied a great deal on my own clinical experience in prescribing Neurontin for

many patients with chronic pain conditions over the past 15 years.        As a neurologist and

professor of neurology, I regularly study, diagnose, and treat neuropathic and chronic pain

conditions, evaluate the potential risks and benefits of pain medications, and treat patients who

have pain conditions and, often, accompanying illnesses including depression.

        [Demonstrative: Summary of Opinions]

        My major opinions about this case, based on a reasonable degree of medical certainty, are

summarized on this chart, and can be summarized as:




                                     3
 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 3 of 16 PageID #: 3952
      Neurontin is a safe and effective treatment for neuropathic pain, and is widely regarded in
       neurology as one of the most useful medication options for treating chronic neuropathic
       pain.

      The labeling, or professional package insert, for Neurontin approved by FDA at the time
       of Mr. Smith’s death adequately communicated the potential benefits and risks of
       Neurontin to doctors.

      The dosage of Neurontin that Mr. Smith was prescribed at the time of his death was
       relatively low and probably was insufficient to provide significant pain relief.

      Mr. Smith’s suicide is most likely attributable to his chronic pain, his depression, and
       feelings of hopelessness after being informed shortly before his death that there were no
       additional treatment options for his severe, chronic pain.

       In order to explain the basis for my conclusions, I need to first provide some background

information about neuropathic pain, how it is commonly treated, and Neurontin’s role in

treatment of neuropathic pain.

       Neuropathic pain is extremely difficult to treat. Many patients do not respond adequately

to the first or second medication prescribed. Mr. Smith’s case is a typical example, in that he

had been treated with many different medications over the years. Patients with neuropathic pain

are often taking other medications for pain and other medical conditions, so the potential for drug

interactions is common. Doctors need to minimize the risk that medications prescribed for

neuropathic pain symptoms might interact with other medications that the patient may be taking

for diabetes, heart problems, or other conditions. For this reason, Neurontin is attractive because

it has very limited potential for drug interactions. In addition, Neurontin is often preferred over

alternative pain medicines such as narcotics for three major reasons. First, patients with

neuropathic pain commonly develop a tolerance for narcotic pain medications. There is also

potential for abuse of narcotic drugs. These are significant concerns with long-term use of

narcotics, but Neurontin does not have these problems. Third, Neurontin is often more effective

for neuropathic pain.



                                     4
 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 4 of 16 PageID #: 3953
       I have treated thousands of patients suffering from neuropathic pain. When I treat my

patients, I base my prescribing decisions on several factors. Specifically, in choosing which

medications to prescribe, I rely on my own experience, the experience of my colleagues, side-

effect profiles of a particular medication, evidence-based medicine (for example, results from

large clinical studies), and the unique needs and characteristics of my patients. I have never

relied on detailing or advertising from pharmaceutical companies or their sales representatives

when deciding whether to prescribe a medication. And I should add that no one from Pfizer or

Warner-Lambert has ever promoted the off-label use of Neurontin to me or in an educational

forum that I have attended.

       Based on all those considerations, in my opinion Neurontin is a safe and effective

treatment for neuropathic pain. For years, Neurontin has been considered one of the drugs of

choice for treating neuropathic pain. Before Neurontin was introduced in 1994, for the previous

several decades, doctors had been treating neuropathic pain with older anti-epileptic drugs as

well as drugs such as tricyclic antidepressants. Beginning in the mid-1990s, shortly after

Neurontin became available, doctors began to try, and report success, using Neurontin to treat

neuropathic pain. The early success with Neurontin was especially welcome news because

Neurontin had a better side-effect profile than many of the medications available at that time and

drug interactions were not common.

       Over time, Neurontin has become a “first-line” treatment for neuropathic and other forms

of chronic pain because it is effective for many patients, well-tolerated, and has a limited

potential for abuse and drug interactions.

       In my own clinical experience, Neurontin can be effective in relieving neuropathic pain

in doses as low as 100 mg twice or three times per day, but this is not common. In most




                                     5
 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 5 of 16 PageID #: 3954
situations of neuropathic pain, patients need dosing of at least 600 mg three times per day, or

1,800 mg/day total. I have prescribed up to 4,800 mg/day with success in relieving symptoms of

neuropathic pain. As I will explain later, Mr. Smith’s dosage at the time of his death was 900

mg/day, which is well below the dosage that most patients need to see meaningful relief.

        In addition to my clinical experience with gabapentin, there is a large body of clinical

studies that support the effectiveness of gabapentin in treating a variety of different neuropathic

and chronic pain conditions. These include both studies sponsored by the manufacturers of

Neurontin, Warner-Lambert’s Parke-Davis division, and later Pfizer, as well as a number of

studies conducted by independent researchers.

        The clinical studies supporting Neurontin’s effectiveness include research where

Neurontin was compared directly to an inactive pill, called a placebo control; other studies where

Neurontin was compared to a known effective medication; as well as a number of what we call

“open-label” studies, which means studies where Neurontin is studied by itself, without any

other drug or placebo for comparison. Scientifically speaking, the placebo-controlled studies are

considered the most convincing evidence of a medication’s true effects, including both its

beneficial or therapeutic effects as well as its side effects.

        The placebo controlled studies supporting Neurontin’s safety and effectiveness in the

form of neuropathic pain known as post-herpetic neuralgia led to FDA approval of that use in

2002. Those studies are described in the FDA package insert for the medication.

        The medical literature includes reports of placebo-controlled studies in other forms of

neuropathic pain, such as diabetic neuropathy, mixed neuropathic pain, pain from spinal cord

injury, neuropathic pain from cancer treatment, and other forms of pain. The vast majority of

these studies succeeded in showing that Neurontin was effective, and I have found the




                                     6
 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 6 of 16 PageID #: 3955
medication effective clinically in many of my own patients with the same or related conditions.

  Again, the important point of the research from my perspective as a neurologist is that

Neurontin is a useful medication for significant numbers of patients with neuropathic or related

chronic pain conditions. Although we have no universally-effective medication for neuropathic

or chronic pain conditions, and each patient’s best medication or combination of medications has

to be determined on an individual basis, Neurontin is one of most useful options, and a

medication that I often turn to first for these patients.

        It is important to realize that most of the medications we prescribe for neuropathic pain

conditions are used on an “off-label” basis. There are many different kinds of neuropathic pain.

In European countries, Neurontin and other drugs have been approved by drug-regulatory

agencies for “neuropathic pain” in general. But here in the United States, FDA has never

approved any drug for a broad “neuropathic pain” indication. Instead, FDA has approved only a

few medications for a few specific kinds of neuropathic pain – Neurontin’s approval for post-

herpetic neuralgia being one of them.

        For many patients, who either have some form of neuropathic pain for which there is no

FDA-approved medication, or for patients who have tried an FDA-approved medication without

success, treatment by necessity has to be “off-label.” Prescriptions of Neurontin for any

neuropathic pain condition other than post-herpetic neuralgia, for example, are considered “off-

label.” Doctors prescribe a number of other medications for neuropathic pain on an off-label

basis as well. For example, tricyclic antidepressants are effective, but have never been approved

by FDA for any form of neuropathic pain. Prescribing tricyclic antidepressants and other

medications on an “off-label” basis is very common in neurology and chronic pain treatment,




                                     7
 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 7 of 16 PageID #: 3956
and in fact is considered the standard of care in the medical community here and everywhere else

I have practiced.

       Let me now turn to my opinions on the adequacy of the Neurontin labeling – the package

insert approved by FDA to convey information to doctors about the medication.

       In my opinion, the labeling for Neurontin that was in effect in 2004 when Mr. Smith was

prescribed Neurontin was adequate to warn physicians of the risks and benefits of using the

medication. I am familiar with the FDA Alert issued in January 2008 about the agency’s

evaluation of suicidality risk with the class of anti-epileptic drugs, as well as the Advisory

Committee proceedings held later that year. The FDA proceedings do not change my opinion

and, in fact, have not changed my prescribing behavior. I have been prescribing Neurontin for

approximately fifteen years. No patient has ever reported suicidality to me in connection with

his or her Neurontin use and I am not aware of any patient of mine committing suicide while

taking Neurontin.

       There is no convincing and reproducible scientific data supporting a conclusion that

Neurontin causes suicide. The meta-analysis conducted by the FDA of 11 different anti-epileptic

drugs does not prove that Neurontin causes suicidality. In fact, the Neurontin-specific data in the

FDA’s report specifically show that there is no statistically significant increased risk of

suicidality with Neurontin use. The work done by Dr. Robert D. Gibbons, Ph.D. confirms that

the data show no increased risk of suicidality in patients who take Neurontin. In my opinion,

there was never any basis for Pfizer to have changed the labeling that FDA had approved in 1993

and 2002 to add information or warnings about suicidality.




                                     8
 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 8 of 16 PageID #: 3957
       To summarize, it is my opinion that Neurontin is a safe and effective medication, one of

the drugs of choice for treating neuropathic pain, and the drug of choice when treating patients

who are taking other medications that have potential for drug interactions.

       Let me now turn to my opinions about Mr. Smith’s specific case, and the reasons that I

believe explain his tragic decision to end his life.

       Richard Smith’s medical records show that he suffered from increasingly severe, chronic,

and debilitating neuropathic pain in the last years of his life. As a clinician, I treat individuals

like Richard Smith and have found that it is difficult, and sometimes impossible, to reduce their

severe pain.

       [Demonstrative: Mr. Smith’s Pain Complaints]

       This chart summarizes the pain complaints that appear in Mr. Smith’s medical records

from the late 1980s to 2004. There are many of them. Let me highlight some of the issues that

are especially significant to me.

       Mr. Smith’s pain issues began in the late 1980s with jaw and pelvic pain. Mr. Smith

experienced pain in his left knee and it was replaced with a prosthetic knee in 1993.

       In 1996, Mr. Smith developed pain in his right hip, ultimately resulting in a right hip

replacement in May 1996.

       In 1998, Mr. Smith had a right knee replacement.

       In January, 1999, Mr. Smith complained of left shoulder pain.

       In September 2000, he again complained of knee pain.

       In 2001, he complained of pain in his shoulder blades, neck, chest, and insomnia. In May

2001, Mr. Smith's primary care physician, Dr. Cato, prescribed the antidepressant amitriptyline

10 mg at bedtime. Amitriptyline, sometimes known by its trade name Elavil, is often prescribed




                                     9
 Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 9 of 16 PageID #: 3958
on an off-label basis to treat neuropathic pain, or to help patients with painful conditions sleep, or

both.

         [Demonstrative: February 6, 2003, Tennessee Orthopedic Alliance otes - Dr.

Smith]

         Mr. Smith’s pain continued to worsen and was aggravated in January 2003 when he

injured himself while fixing water pipes at his home.

         [Demonstrative: February 27, 2003, eurological Surgeons’ otes - Dr. Hampf]

         In February, 2003, Mr. Smith was told by Dr Hampf, a neurological surgeon, that he

needed surgery to repair a disc in his back.

         [Demonstrative: March 11, 2003 urses otes—Dr. Berklacich]

         Dr. Hampf referred Mr. Smith to Dr. Berklacich, a neurosurgeon, to perform the

surgery. Mr. Smith ultimately decided not to have the surgery performed because his pain was

so severe that he wanted to undergo surgery earlier than Drs. Hampf and Berklacich’s schedules

would allow.

         [Demonstrative: April 1, 2003, Dr. McCombs’ Operative Report]

         Dr. Paul McCombs performed Richard Smith’s surgery on April 1, 2003 (DPM-15).

Initially, Mr. Smith seemed pleased with the results of his surgery.

         [Demonstrative: May 2, 2003, eurosurgical Associates otes – Dr. McCombs]

         Unfortunately, by the end of April 2003, the pain returned and in May 2003, Dr.

McCombs’ office staff documented a phone call from one of Richard Smith’s daughters stating

that Mr. Smith “wished he could die because of pain and depression.”

         [Demonstrative: May 15, 2003, Dr. Cato’s otes]




                                    10
Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 10 of 16 PageID #: 3959
       The next month, in June 2003, Mr. Smith’s primary care physician, Dr. Cato, diagnosed

him with anxiety and depression and prescribed Lexapro (an antidepressant) to treat him. This

was prior to Richard Smith’s use of Neurontin. That is very important in understanding this

case: Mr. Smith had expressed the wish to die because of pain and depression, before he ever

used any Neurontin, and he had been diagnosed with depression before he ever took Neurontin.

       From early 2003 until his death in May 2004, Richard Smith’s pain became increasingly

severe and debilitating. Mr. Smith’s medical records document his increasing pain, depression,

and hopelessness in the year prior to his suicide, as well as the fact that his chronic pain was

resistant to treatment, which I believe contributed to his depression and suicidal ideation. The

next several charts show a sampling of the records that I believe are important in understanding

what Mr. Smith was going through during the last year of his life.

   •   May 5, 2003, McCombs (000006-34NEA-00001). Dr. McCombs’ records note that Mr.
       Smith was experiencing “new symptoms of increased leg pain.”

   •   June 27, 2003, Cato (000006-30HMA-00065, 66). Dr. Cato had diagnosed Mr. Smith
       with anxiety and depression related to pain. This is common in patients with the kinds of
       chronic pain problems that Mr. Smith was suffering. Dr. Cato had prescribed two
       antidepressants, Lexapro and desipramine, and as we see here, Mr. Smith had improved,
       but had ran out of the Lexapro and stopped it after just six weeks. There is no indication
       that Mr. Smith’s depression was ever treated from this point forward.

   •   January 5, 2004, McCombs (000006-34NEA-00002). Dr. McCombs’ records document
       that Mr. Smith was reporting “shocks in his back.” Again, this is a new type of pain
       complaint, different from those that Mr. Smith had experienced in prior years.

   •   January 20, 2004, Cato (000006-42HMA-00097). Dr. Cato diagnosed Mr. Smith with
       “post-laminectomy syndrome.” That usually means painful symptoms related to
       priorback surgery.

   •   February 12, 2004, Mackey (000006-32TOA-00004). Mr. Smith saw another
       orthopedist, Dr. Mackey, for a second opinion about his severe leg pain. The record
       indicates that Mr. Smith’s pain was “getting worse” and that it was not helped by
       medication. Mr. Smith had not taken Neurontin by this point in time, so the reference to
       other medications not helping is to other pain medications that his doctors had tried to
       treat his pain.



                                    11
Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 11 of 16 PageID #: 3960
  •   February 23, 2004, Cato (000006-42HMA-00089-90). Mr. Smith told Dr. Cato that it
      “hurts to move.”

  •   February 25, 2004, Mackey (000006-32TOA-00005). Dr. Mackey’s records indicate
      that, in addition to back and leg pain, Mr. Smith was also complaining of knee pain and
      radicular pain.

  •   March 1, 2004 (000006-96MNP-00010). The Police Report prepared shortly after his
      death indicates that on March 1, Mr. Smith had expressed suicidal ideation to his
      daughter, Cindy Smith, similar to the remarks made in May of the preceding year about
      “wishing he could die because of pain and depression.” Again, Mr. Smith had not taken
      Neurontin by this time.

  •   March 9, 2004, Mackey (000006-32TOA-00007). Dr. Mackey’s records indicate that
      Mr. Smith was complaining of severe pain, and had to use a wheelchair to get into Dr.
      Mackey’s office. It was suggested to the family that Mr. Smith be evaluated by a
      psychiatrist (Dr. West) over concerns about his mental health. This recommendation was
      not followed through. Mr. Smith was never treated by Dr. West or any other
      psychiatrist. This is the same day that Mr. Smith was first prescribed and actually
      ingested Neurontin, and we see that by this time, Mr. Smith had already been depressed
      for some time, had already expressed suicidal thoughts on at least two occasions, and had
      already developed mental-health problems serious enough that professional help was
      being recommended to the family.

  •   March 24, 2004, McCombs (000006-34NEA-00003). Dr. McCombs’ records note that
      Mr. Smith is in so much pain that Mrs. Smith scheduled a follow-up appointment with
      Dr. McCombs within a week. According to Dr. McCombs’ nurse, Mr. Smith was told at
      this point that he had no options for pain relief other than medication and epidural steroid
      injections. The nurse told Mr. Smith to increase his daily Neurontin from 600 to 900
      mg/day, which is still only about half of the 1,800 mg daily dose that most patients, in my
      experience, need for neuropathic pain.

  •   March 29, 2004, Mackey (000006-32TOA-00006). Dr. Mackey told one of Mr. Smith’s
      daughters that he did not think that surgery would help ease Mr. Smith’s pain.

  •   March 31, 2004, McCombs (000006-34NEA-00003). Dr. McCombs concurred with Dr.
      Mackey that Mr. Smith was not a candidate for any type of operative intervention and
      recommended conservative therapy. Dr. McCombs confirmed this in his deposition.

  •   April 15, 2004, Berklacich (000006-52FMB-00052). Dr. Berklacich, a spine surgeon,
      refused to treat Richard Smith.

  •   Meanwhile, what is happening outside the doctors’ offices in April and May 2004? Ruth
      Smith testified in her deposition that Richard Smith spent most of his days laying around
      the house trying to stay out of pain. It is clear that Mr. Smith’s pain has become so
      severe by this point that he is functionally debilitated, unable to carry out activities that
      he would normally do.


                                    12
Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 12 of 16 PageID #: 3961
   •   May 4, 2004, Physical Therapist (000006-35UMC-00076). About nine days before he
       died, according to records from his physical therapy, Mr. Smith rated his pain as 7/8 on a
       scale of 1 to 10, which is described as “excruciating.”

   •   May 5, 2004, McCombs (000006-34NEA-00003). About eight days before his death,
       Richard Smith called Dr. McCombs office complaining of pain with no relief from
       medications and reported that the physical therapy was not helping him. Dr. McCombs
       confirmed this in his deposition. According to Mr. Smith’s own handwritten notes, he
       was also told that McCombs’ office “had nothing to offer” him for pain.(Deposition of
       Ruth Smith taken on April 12-13, 2007, Exhibit 1)

   •   May 6, 2004, Physical Therapist (000006-35UMC-00076). About seven days before his
       death, Mr. Smith decided to stop physical therapy because he did not think he was
       improving. He also “voiced concern that something serious [was] going on.”

   •   May 10, 2004, Dentist (000006-19CLW-00001). Mr. Smith told his dentist that an end to
       his pain seemed to be hopeless. He also told his dentist that he wished he had never had
       back surgery, said that he could no longer cut the grass or work on cars, and that he felt
       “useless.”

   •   May 13, 2004, Suicide note. Richard Smith himself writes: “Pain has taken over my
       mind and body. I need back surgery, left and right rotator cuffs, right biceps torn, back
       surgery to correct pain in the legs. Forgive me, I cannot go on like this! I cannot have
       my body, the temple of the Holy Spirit cut on anymore. I have talked to God all night
       and he understands.”

       In my opinion, these medical records, as well as Mr. Smith’s heartbreaking suicide note,

show that he had been fighting a losing battle against a host of debilitating and painful

conditions, from multiple major surgeries to replace hip and knee joints, to back injury and

surgery. He was experiencing severe chronic pain that left him unable to live his life the way he

wanted to and no treatment seemed to help.On top of that ,he had developed, serious depression

and suicidal thinking – all long before he ever used Neurontin.

       When we look more closely at Mr. Smith’s use of Neurontin, it becomes clear, in my

opinion, that Neurontin played no role whatsoever in his ultimate decision to end his life.

       Richard Smith was first prescribed Neurontin on May 5, 2003 (000006-34NEA-00001).

However, according to Mrs. Smith’s deposition testimony and Dr. McCombs’ records, Mr.

Smith chose not to take Neurontin at that time. Dr. McCombs’ records indicate that although


                                    13
Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 13 of 16 PageID #: 3962
Neurontin was recommended, Mr. Smith “wanted to wait until absolutely necessary” before

starting the medication. (000006-34NEA-00002).

[Demonstrative: March 9, 2004, First eurontin Prescription]

       The first time Richard Smith was actually prescribed and took Neurontin was on March

9, 2004. Dr. Mackey prescribed 300 mg to be taken twice a day. According to the medical

records, that prescription was filled on March 9, 2004 at Eckerd Pharmacy.

       On March 24, 2004, one of Dr. McCombs’ nurse practitioners, Pam Krancer, prescribed

Neurontin for Richard Smith at 300 mg, to be taken three times per day.

       [Demonstrative: Photographs of eurontin Sample Packs and Bottle; Exs. 249, 250]

       I cannot tell from Mr. Smith’s medical records whether he actually took the Neurontin

prescribed for him as frequently as he was directed to take it. He filled a prescription written

March 9, 2004 by Dr. McCombs for sixty (60) 300 mg tablets. That is the only prescription the

records show he ever filled for Neurontin. The bottle found after his death, shown here,

contained at least 15 unconsumed tablets. He also apparently received some sample packages

that contained three 300 mg tablets in each packet. Six packets apparently remained

unconsumed after his death.

       If he followed the directions from his providers, Mr. Smith would have taken two tablets

each day from March 9 to March 24. That would total 32 tablets over that first 16 days. On

March 24, Nurse Krancer told him to increase his dosage from 600 to 900 mg day, that is, from

two up to three 300 mg tablets. So if he followed her instructions, he would have taken three

tablets for the 50 day period from March 25 to May 13, or 150 tablets total over that period.

Altogether, he would have had to take 182 tablets (the 32 plus the 150) between the initial

prescription and his death.




                                    14
Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 14 of 16 PageID #: 3963
       If we do the math, given that he had at least 15 tablets remaining in the bottle, he used at

most 45 tablets from the bottle of 60 that he got at the pharmacy March 9. Those 45 tablets,

which I assume he did in fact ingest, would have gotten him through the period March 9-24,

when he was told to take two each day, and then for about another five days at the three-tablets

per day dosage Nurse Krancer told him to take, or to about the first of April, about six weeks

before his death on May 13.

       For him to have taken three tablets per day as directed over the thirty days in April plus

the first 13 days in May, about a 43 day period, he would have had to take a little more than 130

more tablets. Since we have already taken account of the pills in the bottle, that means he would

have to have been given more than 40 of these three-tablet sample packages by someone, and

that he would have had to use those exclusively and for some reason stop using the tablets in the

bottle he had gotten from the pharmacy.

       The bottom line is that he either received a very large number of sample packages, of

which there is no documentation in his records, or else he either skipped many doses that he was

supposed to have taken, or stopped taking Neurontin well before the time he died.

       Even if we assume Richard Smith had been taking the medication as prescribed, in my

clinical judgment, his dose may have been too low to offer him any relief from his pain. Mr.

Smith was prescribed a low dose of Neurontin -- 600 mg/day to 900 mg/day, as compared with

the effective dosage range reported in the labeling for Neurontin of 1,800-3,600 mg/day. It is

likely that this dose was sub-therapeutic for him and that he was not achieving adequate pain

relief from this dose of Neurontin or from his other pain medications. This opinion is supported

both by my clinical experience and the published, peer-reviewed neurological literature.




                                    15
Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 15 of 16 PageID #: 3964
       Based on my review of the medical records in this case, it is my opinion to a reasonable

degree of medical certainty, that Neurontin did not cause Mr. Smith’s suicide. Mr. Smith’s

suicide is likely attributable to his chronic severe pain, depression, and hopelessness that was

triggered by being told that there were no additional treatment options for his pain.

       Mr. Smith’s doctors began telling him in March 2004 that there was no treatment for his

pain other than medication and physical therapy. The doctors’ statements were reinforced on

May 5, 2004, seven days prior to Mr. Smith’s suicide, when he was told by Dr. McCombs’ office

that there was nothing that could be done to relieve his pain.

       Mr. Smith’s choice to end his life is one that is made by patients, especially elderly

patients, who are made hopeless by severe chronic pain that does not respond to treatment.

       [Demonstrative: Quote from Juurlink publication]

       The risk of suicide in elderly patients with chronic pain is recognized in the medical

literature. As explained by Dr. David Juurlink and others, in an article published in the journal

Archives of Internal Medicine in June 2004, “[t]he risk for suicide among patients [elderly] with

severe pain merits particular attention. Patients with severe pain and inadequate analgesia

[pain relief] may view suicide as a means of escape from suffering.”

       This scenario is what I believe happened in this case. Based on the medical records, Mr.

Smith’s suicide note, in which he explains that pain had taken over his mind and body, and that

he simply could not go on like that, and statements made by Mrs. Smith during her 911 call,

when she described how terrible his pain had become in the days leading up to his death, it is my

opinion that the best explanation for Richard Smith’s suicide centers on his chronic pain,

depression, and hopelessness. I do not believe his death can be blamed on Neurontin.




                                    16
Case 3:05-cv-00444 Document 173-1 Filed 04/27/10 Page 16 of 16 PageID #: 3965
